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                                UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF OREGON

                                          PORTLAND DIVISION


 MATHEW LOVATO and STACIE                             Case No. 3:22-cv-264
 CARMAN,
                                                      FIRST AMENDED COMPLAINT
                           Plaintiffs,
                                                      Violations of the 4th and 14th Amendments
         v.                                           to the U.S. Constitution and 42 U.S.C. §
                                                      1983; Unlawful Ouster
 DELTA HOSPITALITY GROUP, an Oregon
 corporation, dba MOTEL 6 NORTH                       JURY TRIAL DEMANDED
 PORTLAND; ALEXANDER FULLERTON;
 EMILY COTE in her individual capacity;
 JOHN SHADRON in his individual capacity;
 and CHRIS KULP in his individual capacity;

                        Defendants.


                                         I.   INTRODUCTION

        1.      This case involves a police-assisted illegal eviction. Plaintiffs Mathew Lovato and

Stacie Carman, brother and sister, were long-term residential tenants at a Motel 6 in North

Portland owned and operated by Defendant Delta Hospitality Group. Ms. Carman’s four

children, ages 4 to 12, lived at the hotel with Plaintiffs.



                                 FIRST AMENDED COMPLAINT - 1
       2.      On February 19, 2021, Defendant Alexander Fullerton, the general manager at the

hotel, refused to accept Plaintiffs’ rent and told them they could no longer stay at the hotel.

Defendant Fullerton called 911 and asked for police assistance in removing Plaintiffs from the

property.

       3.      Portland Police Officers Emily Cote, John Shadron and Chris Kulp responded to

the 911 call. Officers Cote, Shadron, and Kulp informed Plaintiff Carman that she and her

brother were trespassed from the property. Even after Plaintiff Carman explained they had been

living at the hotel for longer than six months, Officers Cote, Shadron, and Kulp ordered Plaintiffs

to leave under threat of arrest and told them they could have one hour to gather their belongings.

       4.      Plaintiffs assert that Officers Cote, Shadron, and Kulp violated their rights under

the U.S. Constitution by forcing them, under color of state law, to leave their rental unit without

notice or due process. Plaintiffs further allege that Defendant Delta Hospitality Group doing

business as Motel 6 North Portland, through its general manager Defendant Fullerton, violated

their rights under the Oregon Residential Landlord-Tenant Act.

       5.      Plaintiffs seek statutory and compensatory damages (including non-economic

emotional distress damages) in an amount to be determined at trial.

                             II.     JURISDICTION AND VENUE

       6.      This Court has jurisdiction over Plaintiffs’ claims for federal civil rights

violations under 28 U.S.C. § 1331 and § 1343.

       7.      This court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant

to 28 U.S.C. § 1367 because all claims asserted in this action are part of the same case or

controversy.




                              FIRST AMENDED COMPLAINT - 2
       8.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events giving rise to these claims occurred in the district.

                                         III.      PARTIES

       9.       Plaintiffs Mathew Lovato and Stacie Carman are residents of Portland, Oregon.

At all relevant times, Plaintiffs were tenants within the meaning of O.R.S. § 90.100.

       10.      Defendant Delta Hospitality Group (“Motel 6”) is an Oregon corporation. Delta

Hospitality Group owns and operates the Motel 6 located at 1125 N. Schmeer Road in Portland,

OR 97217.

          11.   Defendant Alexander Fullerton was, at the time of the events giving rise to this

lawsuit, the General Manager of Motel 6. At all relevant times, Fullerton was acting within the

scope of his employment for Motel 6.

       12.      Motel 6 and Fullerton were, at all relevant times, landlords as defined by O.R.S. §

90.100.

       13.      Defendants Emily Cote, John Shadron, and Chris Kulp are police officers for the

Portland Police Bureau. At all relevant times, Officers Cote, Shadron, and Kulp were acting

under color of state law.

                              IV.      FACTUAL ALLEGATIONS

          14.   Plaintiffs Mathew Lovato and Stacie Carman are brother and sister who

continuously lived at Motel 6 for nearly a year.

          15.   Plaintiff Carman and her four children, ages 4 to 12, were the first to start living at

the Motel 6. They lived at the hotel off and on throughout 2019 and early 2020, then stayed there

continuously from spring 2020 through the date of their eviction.




                               FIRST AMENDED COMPLAINT - 3
        16.    Plaintiff Lovato came to live with Plaintiff Carman in spring 2020. At first,

Plaintiffs shared one hotel room. After several months, Plaintiff Lovato moved into his own

room.

        17.    Motel 6 staff sometimes imposed limits on how long Plaintiffs could stay in the

same room. For example, in 2019, staff sometimes required Plaintiff Carman and her children to

leave the hotel for a 24-hour period. In 2020, staff stopped requiring Plaintiff Carman to leave

the hotel, but sometimes did ask her to move to a new room. During the time when both

Plaintiffs lived at the hotel, when Lovato reached 28 days in one room, staff would sometimes

direct him to move his belongings into Carman’s room for 24 hours before moving back into his

own room for the next 28 days. Similarly, when Carman reached 28 days in one room, staff

would sometimes direct her to move her belongings into Lovato’s room for 24 hours before

moving back into her own room.

        18.    Motel 6 staff applied the 28-day rule inconsistently. At the time of their eviction,

Lovato and Carman had been continuously staying in the same two rooms for longer than three

months, since before Thanksgiving 2020.

        19.    In early February 2021, Plaintiff Carman purchased a used van from a friend.

Sometime during the week of February 14, 2021, Motel 6 management had the van towed.

        20.    When Plaintiff Carman asked hotel staff about the van, they informed her that

Defendant Fullerton had had it towed.

        21.    The morning of February 19, 2021, Plaintiff Lovato attempted to pay rent for both

Plaintiffs’ rooms. Defendant Fullerton refused to accept payment and told Plaintiffs, “If you have

a lawyer, you can’t stay here.” Plaintiffs did not at that time have a lawyer and did not know why




                              FIRST AMENDED COMPLAINT - 4
they were being kicked out. Fullerton told Plaintiffs they should hurry and pack because the

police were “on their way.”

       22.      Plaintiffs did not receive any kind of written eviction notice.

       23.      At around 11:30am on February 19, 2021, Fullerton called 911 to request that

police officers come remove Plaintiffs from the property. Fullerton told the 911 dispatcher that

Plaintiffs were being “aggressive and retaliatory” because the van had been towed. When the

dispatcher asked for more information, Fullerton said Plaintiffs had “threatened lawsuits” and

told him “karma’s not going to be good for [you].” Fullerton told the dispatcher, “I want them to

be out of here.”

       24.      Portland Police Officers Cote, Shadron, and Kulp were dispatched to the scene

and went into both Plaintiff’s rooms. The officers told Plaintiff Carman she and Plaintiff Lovato

were “trespassed” and initially offered ten minutes to pack and leave. When Plaintiff Carman

told the officers they had been living at the hotel for more than six months, the officers told her

that Plaintiffs could have one hour to move their belongings. The officers told Plaintiff Carman

that if Plaintiffs were not gone when they returned in one hour, they would be arrested for

trespassing.

       25.      Plaintiff Carman called Plaintiff Lovato, who was not at the hotel, and told him

the police were giving them one hour to pack and move. Plaintiff Lovato returned to the hotel

and spoke to the police officers. The officers told Plaintiff Lovato to hurry up and remove his

belongings as quickly as possible.

       26.      Plaintiffs were afraid they would be arrested and did not feel they had any choice

but to leave.




                               FIRST AMENDED COMPLAINT - 5
        27.    Plaintiffs put as many of their belongings as possible in Lovato’s car. They had to

throw away many of their belongings because they had no way to transport them.

        28.    Plaintiffs had to make emergency arrangements to store their belongings. Because

the belongings were temporarily stored in an insecure basement, most of their remaining

belongings were stolen or damaged.

        29.    For two days, Plaintiffs slept in the basement where they stored their belongings.

There were no beds or furniture in the basement and Plaintiffs slept on the floor. During the time

they stayed in the basement, Plaintiffs discovered that the basement was infested with carpet

beetles.

        30.    Plaintiff Carman’s young children, who were very upset by losing their home,

spent those two nights with a babysitter, separated from their mother.

        31.    On the third day, Plaintiffs moved into a different hotel.

        32.    Plaintiffs were unable to recover the van from the towing company because they

could not afford the towing and storage fees.

        33.    Plaintiffs were harmed by the loss of their property including items they were

forced to throw away and items that were lost or damages due to lack of secure storage.

        34.    Plaintiffs also suffered non-economic damages in an amount to be determined at

trial resulting from the loss of their home, threats and fear of arrest, and disruption to their family

life.

                              V.      FIRST CLAIM FOR RELIEF

              Fourth Amendment to the U.S. Constitution and 42 U.S.C. § 1983
                      (against Defendants Cote, Shadron and Kulp)

        35.    Plaintiffs incorporate the allegations set forth above.




                               FIRST AMENDED COMPLAINT - 6
       36.     Plaintiffs had a right to be secure in their persons, houses, papers, and effects,

against unreasonable searches and seizures as guaranteed by the Fourth Amendment to the

United States Constitution as it applies to the states via the Fourteenth Amendment.

       37.     This right was, at the time of the incidents in this complaint, clearly established

and embodied in written Portland Police Bureau policies.

       38.     Defendants’ actions violated Plaintiffs’ Fourth Amendment rights by subjecting

them to an unlawful search and seizure.

                            VI.     SECOND CLAIM FOR RELIEF

             Fourteenth Amendment to the U.S. Constitution and 42 U.S.C. § 1983
                        (against Defendants Cote, Shadron and Kulp)

       39.     Plaintiffs incorporate the allegations set forth above.

       40.     Plaintiffs, as tenants, had a right to be evicted only consistent with proper notice

and by court order as required by O.R.S. chapters 90 and 105.

       41.     This right was, at the time of the incidents in this complaint, clearly established

and embodied in written Portland Police Bureau policies.

       42.     Defendants’ actions violated Plaintiffs’ Fourteenth Amendment rights by

depriving them of property without due process of law.

                             VII.    THIRD CLAIM FOR RELIEF

                            Oregon Residential Landlord/Tenant Act
                           (against Defendants Motel 6 and Fullerton)

       43.     Plaintiffs incorporate the allegations set forth above.

       44.     Plaintiffs had established a tenancy at Motel 6 pursuant to O.R.S. § 90.100(47)

and O.R.S. § 90.100(49).




                              FIRST AMENDED COMPLAINT - 7
       45.      As tenants, Plaintiffs could only be removed from their home in accordance with

O.R.S. § 105.105 and the requirements of Oregon landlord-tenant law found in O.R.S. Chapter

90.

       46.      Defendant Motel 6 is vicariously liable for the actions of Defendant Fullerton.

       47.      By having Plaintiffs trespassed from the property and threatened with arrest

without the written notice and court process required by law, Defendant Motel 6 and Defendant

Fullerton unlawfully ousted Plaintiffs from their home in violation of O.R.S. § 105.105 and

O.R.S. § 90.375.

                                      DEMAND FOR JURY TRIAL

       48.      Plaintiff demands a jury trial.

                                              PRAYER

       WHEREFORE, Plaintiffs request judgment in their favor and against Defendants as

follows:


       1. On their first claim for relief (due process), to award them compensatory (including

             non-economic) and punitive damages from Defendants Cote, Shadron and Kulp in an

             amount to be determined at trial;

       2. On their second claim for relief (unlawful seizure), to award them compensatory

             (including non-economic) and punitive damages from Defendants Cote, Shadron, and

             Kulp in an amount to be determined at trial;

       3. On their third claim for relief (unlawful ouster), to award them two months’ periodic

             rent or twice their actual damages, whichever is greater, as well as punitive damages

             in an amount to be determined at trial from Defendants Motel 6 and Fullerton;




                               FIRST AMENDED COMPLAINT - 8
4. Reasonable attorney fees and costs, pursuant to 42 U.S.C. § 1988 and O.R.S. §

   90.255; and

5. Such further or alternative relief in his favor as the court deems appropriate.

DATED: March 4, 2022



                                                     __s/MariRuth Petzing___________

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                      FIRST AMENDED COMPLAINT - 9
